      Case 2:19-cv-00649-BWA-MBN Document 5 Filed 03/06/19 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

LARRY PORTER,                                  )
                                               )    Civil Action No.: 2:19-cv-649
       Plaintiff,                              )
                                               )    Judge: Barry Ashe
       v.                                      )
                                               )    Magistrate: Michael North
CREDIT ACCEPTANCE                              )
CORPORATION,                                   )
                                               )
       Defendant.                              )

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Plaintiff, Larry Porter, (“Plaintiff”), through undersigned counsel, informs this Honorable

Court that Plaintiff voluntarily dismisses this case, without prejudice. Dismissal is appropriate

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) because defendant never filed an answer or a motion

for summary judgment.


DATED: March 6, 2019                        RESPECTFULLY SUBMITTED,

                                            /s/ Samuel J. Ford
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